        Case 09-61855-bem                 Doc 299 Filed 07/12/23 Entered 07/12/23 15:48:14              Desc
                                            Notice of Deficiency Page 1 of 1
                                      UNITED STATES BANKRUPTCY COURT
                                               Northern District of Georgia
                                      Atlanta Division 1340 United States Courthouse
                                                 75 Ted Turner Drive SW
                                                    Atlanta, GA 30303
                                                      404−215−1000

In     Todd Anthony Shaw                                     Case No.: 09−61855−bem
Re:                                                          Chapter: 7
                                                             Judge: Barbara Ellis−Monro
       Debtor(s)

                                                NOTICE OF DEFICIENCY

You are hereby notified that Document # 298 filed on July 10, 2023, is deficient for the following reasons:

The document is illegible or incomplete. Please re−file a legible and complete document.


Failure to timely remedy the deficiency noted above may delay prompt administration of the case, including, but not
limited to, the timely entry of the debtor's discharge. If this matter is pending before the Court, this Notice of
Deficiency does not alter any pending deadlines or remove scheduled hearings from the Court's calendar.



Date: 7/12/23                                            Vania S. Allen
                                                         Clerk of Court

                                                         By: Gelonda Howell
                                                         Deputy Clerk
Form 431 − Notice of deficiency 11−2020
